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                IN THE UNITED STATES DISTRICT COURT
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DORIAN STEPNEY, TRISTAN STEPNEY,           )
DERRICK STEPNEY, and CYNTHIA               )
STEPNEY, individually and on               )
behalf of her minor children               )
DARIUS STEPNEY, RODNEY STEPNEY and         )
TONI STEPNEY,                              )
                                           )     07 C 5842
                 Plaintiffs,               )
                                           )     Judge Zagel
                 v.                        )
                                           )
CITY OF CHICAGO, City of Chicago           )
Police Officers EMMETT MCCLENDON,          )
Star # 18077, MARK HEIN, Star #            )
19700, MELVIN BRANCH, Star #               )
16163, FRED WALLER, Star # 1822,           )
BRIAN HAWKINS, Star # 18982,               )
STEVEN MALDONADO, Star # 6223,             )
MARTIN TERESI, Star # 11254,               )
MIGUEL CUADRADO, Star # 5437, and          )
ANTHONY SCHULZ, Star # 887                 )
                                           )     JURY TRIAL DEMANDED
                 Defendants.               )


                         THIRD AMENDED COMPLAINT


           PLAINTIFFS, by and through their attorneys, LOEVY &

LOEVY, complain of Defendants, CITY OF CHICAGO, City of Chicago

Police Officers EMMETT MCCLENDON, Star # 18077, MARK HEIN, Star #

19700, MELVIN BRANCH, Star # 16163, FRED WALLER, Star               # 1822,

BRIAN HAWKINS, Star # 18982, STEVEN MALDONADO, Star # 6223,

MARTIN TERESI, Star # 11254, MIGUEL CUADRADO, Star # 5437,

ANTHONY SCHULZ, Star # 887 and Unknown Chicago Police Officers

(“Defendant Officers”), and state as follows:
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                                Introduction

            1.   This action is brought under 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiffs’ rights

as secured by the United States Constitution.

                         Jurisdiction and Venue

            2.   This Court has jurisdiction of the action under

28 U.S.C. §§ 1331 and 1367.

            3.   Venue is proper as Plaintiffs reside in this

judicial district and Defendant City of Chicago is a municipal

corporation located here.       Further, the events giving rise to the

claims asserted here all occurred within this district.

                                   Parties

            4.   Plaintiffs were at all relevant times citizens of

the United States and Chicago, Cook County, Illinois.

            5.   Defendant Officers are or were police officers

employed by the City of Chicago.

            6.   Defendant City of Chicago is an Illinois Municipal

Corporation, and was and is the employer of the Defendant

Officers.   The City of Chicago is responsible for the acts of the

Defendants Officers while employed by the City of Chicago and

while acting within the scope of their employment.              Defendant

City of Chicago is also liable as an independent tortfeasor

pursuant to Monell v. New York City Dept. of Social Services, 436

U.S. 658, 694 (1978), for the constitutional violations of the


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Defendant Officers, including unknown Chicago police officers,

and any other agent of the City of Chicago.

                                 Background

             7.   At all times relevant hereto, Plaintiff Cynthia

Stepney worked full-time at Rush University Medical Center as a

licensed phlebotomist.       Ms. Stepney has four children, Dorian

Stepney, Darius Stepney, Toni Stepney, and Rodney Stepney, all of

whom are Plaintiffs in this case.          Ms. Stepney’s nephew, Tristan

Stepney, and brother, Derrick Stepney, are also Plaintiffs in

this case.

             8.   At all times relevant hereto, Plaintiffs Cynthia

Stepney, Derrick Stepney, Dorian Stepney, Darius Stepney, Rodney

Stepney, and Toni Stepney all reside in the single family home at

8446 S. Winchester, Chicago, Illinois.           Cynthia Stepney owns that

house and has lived there with her family for approximately 30

years.

             9.   Unbeknownst to Plaintiffs, on or about August 28,

2007 unknown persons robbed the home of Chicago Police Officer

Emmett McClendon.     The events that follow are the result of that

officer and his fellow police officers’ misguided and totally

unjustified rampage through the neighborhood as payback for the

robbery.




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                              August 28, 2007

            10.    On or about the evening of August 28, 2007, two

unidentified Chicago Police Officers approached the front porch

of the residence at 8446 S. Winchester.           The officers demanded to

speak to the owner of the house.

            11.    Cynthia Stepney identified herself and offered to

speak to the officers.       She had no idea why the officers were at

her home.

            12.    The officers demanded to search Ms. Stepney’s

house, claiming that one of their partner’s house had been

robbed.    The officers provided no explanation for why they

thought any evidence from that alleged crime would be in Ms.

Stepney’s home.

            13.    Ms. Stepney asked the officers if they had a

warrant.    The officers became enraged when Ms. Stepney asked

about a warrant.     At this point, six to eight more officers

surrounded the house.      One of the officers handcuffed Ms.

Stepney’s nephew, Tristan Stepney, who was on the porch, to a

railing.    The officer said that Tristan Stepney would be arrested

if Ms. Stepney did not let them in the house.             Tristan Stepney

had committed no act that would justify restraining him or

arresting him.

            14.    At no point did Ms. Stepney agree to allow the

officers to search her home.        Nonetheless, several of the


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Defendant Officers forced their way inside the Stepneys’ home.

Ms. Stepney attempted to follow the officers, but was restrained

by other officers.      None of the officers ever displayed a

warrant.

             15.   Once inside, the officers proceeded to search the

house, but found absolutely no evidence of crime.

             16.   Dorian Stepney was inside the house and presented

no threat to the officers and did nothing to interfere with the

illegal search.     Nevertheless, when Defendant McClendon saw

Dorian inside the home the officer unjustifiably struck Dorian

Stepney in the chest, choked him, and threw him backwards against

the wall.

             17.   While her son was being attacked, two other

Defendant officers grabbed Ms. Stepney and struck in her in the

face, causing her to fall on a glass table.

             18.   Dorian Stepney was then handcuffed and dragged

out of the residence.      Once outside, Dorian Stepney was placed in

the back of police car.       An officer then threatened Mr. Stepney

by saying he could charge him with any crime regardless of his

innocence.

             19.   While Dorian Stepney was being attacked, Jefty

Stepney, another Stepney family member, called 911 to ask for a

supervisor to come to the scene and restrain the out of control

Defendant Officers.      Although Defendant Officer Schulz was


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dispatched to their home in response to the 911 calls, no

supervisor took any action to prevent the violation of

Plaintiffs’ constitutional rights.

           20.    While some of the officers continued to search

the home, Tristan Stepney attempted to call his mother on his

cell phone to inform her what was happening.             Upon seeing this,

one of the Defendant Officers twisted Tristan’s arm to force him

to hang up the phone.      Tristan Stepney’s arm was still handcuffed

to the railing during the attack.

           21.    The officers continued to search the Stepney home

and interrogate everyone at the scene until approximately 1 a.m.

on August 29.    The officers departed without charging any

Plaintiff with a crime.

           22.    The officers left the house in shambles.              The

Plaintiffs’ possessions were strewn throughout the house as a

result of the illegal search.

                      Count I -- 42 U.S.C. § 1983
                            Fourth Amendment

           23.    Each of the foregoing Paragraphs is incorporated

as if restated fully herein.

           24.    As described more fully above, Plaintiffs’ home

was searched by the Defendant Officers in a manner which violated

the Fourth Amendment.

           25.    The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

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willful indifference to Plaintiffs’ constitutional rights.

           26.    The policy and practice of the City of Chicago,

acting by and through its agents, were the moving force behind

these constitutional violations in that:

                 a.     As a matter of both policy and practice, the

City of Chicago, acting by and through its agents, directly

encourages, and is thereby the moving force behind, the very type

of misconduct at issue here by failing to adequately train,

supervise and control its officers, such that its failure to do

so manifests deliberate indifference;

                 b.     As a matter of both policy and practice, the

City of Chicago facilitates the very type of misconduct at issue

here by failing to adequately investigate, punish and discipline

prior instances of similar misconduct, thereby leading its

officers to believe their actions will never be scrutinized and,

in that way, directly encouraging future abuses such as those

affecting Plaintiffs;

                 c.     Generally, as a matter of widespread practice

so prevalent as to comprise municipal policy, officers of the

City of Chicago abuse citizens in a manner similar to that

alleged by Plaintiffs in this Count on a frequent basis, yet the

City of Chicago makes findings of wrongdoing in a

disproportionately small number of cases;




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                 d.     Even when there is sufficient evidence for

probable cause to believe that officers committed crimes, the

Chicago Police Department does not pursue criminal charges

against the officers as it would against citizens who commit the

same crimes;

                 e.     Municipal policy-makers are aware of (and

condone and facilitate by their inaction) a "code of silence" in

the Chicago Police Department, by which police officers fail to

report misconduct committed by other officers, such as the

misconduct at issue in this case; and

                 f.     The City of Chicago, acting by and through

its agents, has knowledge of, and the relevant policy-makers have

failed to act to remedy, the patterns of abuse described in the

preceding sub-paragraphs, despite actual knowledge of the same,

thereby tacitly approving and ratifying the type of misconduct

alleged here.

           27.    As a result of the unjustified violation of

Plaintiffs’ rights by the Defendant Officers, as well as the

City’s policy and practice, Plaintiffs have suffered injury, as

well as emotional distress.

           28.    The misconduct described in this Count was

undertaken by the Defendant Officers within the scope of their

employment and under color of law.




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                      Count II -- 42 U.S.C. § 1983
                             Excessive Force

           29.   Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

           30.   As described in the preceding paragraphs, the

conduct of the Defendant Officers toward Plaintiffs Cynthia

Stepney, Dorian Stepney, and Tristan Stepney constituted

excessive force in violation of the United States Constitution.

           31.   The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

wilful indifference to Plaintiffs’ constitutional rights.

           32.   The misconduct described in this Count was

undertaken pursuant to the policy and practice of the Chicago

Police Department in the manner described in preceding

paragraphs.

           33.   As a result of the unjustified and excessive use

of force by the Defendant Officers, Plaintiff Cynthia Stepney

sustained injuries, including, but not limited to, physical harm

and emotional distress.

           34.   As a result of the unjustified and excessive use

of force by the Defendant Officers, Plaintiff Dorian Stepney

sustained injuries, including, but not limited to, physical harm

and emotional distress.

           35.   As a result of the unjustified and excessive use

of force by the Defendant Officers, Plaintiff Tristan Stepney

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sustained injuries, including, but not limited to, physical harm

and emotional distress.

           36.    The misconduct described in this Count was

undertaken by the Defendant Officers within the scope of their

employment and under color of law.

                      Count III -- 42 U.S.C. § 1983
                            Unlawful Detention

           37.    Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

           38.    As described more fully above, the Defendant

Officers unlawfully detained Plaintiffs without legal

justification.

           39.    The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

           40.    The misconduct described in this Count was

undertaken pursuant to the policy and practice of the Chicago

Police Department in the manner described in preceding

paragraphs.

           41.    As a result of the above-described wrongful

infringement of their rights, Plaintiffs suffered damages,

including, but not limited to, emotional distress and anguish.

           42.    The misconduct described in this Count was

undertaken by the Defendant Officers within the scope of their

employment and under color of law.

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                         Count IV -- Section 1983
                           Failure to Intervene

            43.   Each Paragraph of this Complaint is incorporated

herein.

            44.   As described more fully above, one or more of the

Defendant Officers had a reasonable opportunity to prevent the

violation of Plaintiffs’ constitutional rights as set forth above

had they been so inclined, but failed to do so.

            45.   The misconduct described in this Count was

undertaken intentionally, with malice and reckless indifference

to Plaintiffs’ rights.

            46.   The misconduct described in this Count was

undertaken under color of state law.

            47.   As a direct and proximate result of the misconduct

described in this Count, Plaintiffs’ rights were violated and

they suffered injuries, including but not limited to emotional

distress.

            48.   Plaintiffs’ injuries were caused by employees of

the City of Chicago, including but not limited to the

individually named Defendants, who acted pursuant to the City’s

policies and practices in engaging in the misconduct described in

this Count.




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                       Count V -- State Law Claim
                           Assault and Battery

            49.   Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

            50.   As described in the preceding paragraphs, the

conduct of the Defendant Officers, acting under color of law and

within the scope of their employment, constituted unjustified and

offensive physical contact and/or apprehension of immediate

bodily harm, undertaken willfully and wantonly, proximately

causing injury to Plaintiffs.

            51.   The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

malice, willfulness, and reckless indifference to the rights of

others.

            52.   As a result of the offensive contact and/or

apprehension of bodily harm, Plaintiffs sustained injuries,

including, but not limited to physical harm and emotional

distress.

            53.   The misconduct described in this Count was

undertaken by the Defendant Officers within the scope of their

employment and under color of law such that their employer, City

of Chicago, is liable for their actions.




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                       Count VI -- State Law Claim
                           Respondeat Superior

           54.    Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

           55.    In committing the acts alleged in the preceding

paragraphs, the Defendant Officers were members and agents of the

Chicago Police Department acting at all relevant times within the

scope of their employment.

           56.    Defendant City of Chicago is liable as principal

for all torts committed by its agents.

                      Count VII –- State Law Claim
                             Indemnification

           57.    Each of the Paragraphs in this Complaint is

incorporated as if restated fully herein.

           58.    Illinois law provides that public entities are

directed to pay any tort judgment for compensatory damages for

which employees are liable within the scope of their employment

activities.

           59.    The Defendant Officers are or were employees of

the Chicago Police Department, who acted within the scope of

their employment in committing the misconduct described herein.

           WHEREFORE, Plaintiffs respectfully request that this

Court enter judgment in their favor and against Defendants

Defendants, CITY OF CHICAGO, City of Chicago Police Officers

EMMETT MCCLENDON, Star # 18077, MARK HEIN, Star # 19700, MELVIN


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BRANCH, Star # 16163, FRED WALLER, Star # 1822, BRIAN HAWKINS,

Star # 18982, STEVEN MALDONADO, Star # 6223, MARTIN TERESI, Star

# 11254, MIGUEL CUADRADO, Star # 5437, and ANTHONY SCHULZ, Star #

887, awarding compensatory damages and attorneys’ fees, along

with punitive damages against the Defendant Officers in their

individual capacities, as well as any other relief this Court

deems just and appropriate.



                                 JURY DEMAND

           Plaintiffs hereby demand a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.



                                     RESPECTFULLY SUBMITTED,


                                     /s/ Elizabeth Mazur
                                     Attorneys for Plaintiffs

Arthur Loevy
Jon Loevy
Russell Ainsworth
Elizabeth Mazur
LOEVY & LOEVY
312 N. May St., Suite 100
Chicago, IL 60607
(312) 243-5900



                          CERTIFICATE OF SERVICE

     I, Elizabeth Mazur, an attorney, certify that on October 20,
2009, I served this document on all counsel of record via the ECF
system.

                                     /s/ Elizabeth Mazur

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